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 1   Terri H. Didion, Assistant United States Trustee
     State Bar # CA 133491
 2
     UNITED STATES DEPARTMENT OF JUSTICE
 3   Office of the United States Trustee
     300 Las Vegas Boulevard So., Suite 4300
 4   Las Vegas, Nevada 89101
     Telephone: (702) 388-6600 Attorney Ext. 235
 5
     Facsimile: (702) 388-6658
 6   E-mail: terri.didion@usdoj.gov

 7   Attorneys for TRACY HOPE DAVIS
     United States Trustee for Region 17
 8
                                UNITED STATES BANKRUPTCY COURT
 9                                     DISTRICT OF NEVADA
                                       LAS VEGAS DIVISION
10
11    In re                                          )    Case No. 21-14823-nmc
                                                     )
12    FORTEM RESOURCES, INC.,                        )    Chapter 11
                                                     )
13                                        Debtor.    )
                                                     )
14                                                   )
                                                     )
15                                                   )

16                   NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE
17            Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following
18
     qualified individual as Subchapter V trustee in the above-captioned case:
19
                                     Edward Burr
20                                   10191 E. Shangri La Road
                                     Scottsdale, AZ 85260
21
                                     Phone: (602) 418-2906
22                                   Email: Ted@macrestructuring.com

23
24   Dated: October 7, 2021                         TRACY HOPE DAVIS
                                                    UNITED STATES TRUSTEE
25
26
                                                    /s/ Terri H. Didion
27                                                  Assistant United States Trustee
28



     Notice of Appointment of Subchapter V Trustee
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                          UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEVADA
                                 LAS VEGAS DIVISION

IN RE:                                                        CASE NO. 21-14823-nmc

FORTEM RESOURCES, INC.,                                       CHAPTER 11

                               Debtor(s)


                 VERIFIED STATEMENT OF SUBCHAPTER V TRUSTEE

         In connection with the United States Trustee’s Notice of Appointment of me as

Subchapter V trustee in this proceeding, I hereby verify that I am a “disinterested person” as

defined by 11 U.S.C. §101(14) in that I:

                (a)    am not a creditor, equity security holder or insider of the debtor;

                (b)    am not, and was not, within two years before the date of filing of the
                       petition, a director, officer, or employee of the debtor; and

                (c)    do not have an interest materially adverse to the interest of the estate or of
                       any class of creditors or equity security holders, by reason of any direct or
                       indirect relationship to, connection with, or interest in, the debtor, or for
                       any other reason.

         Subject to court approval pursuant to 11 U.S.C. § 330, I anticipate seeking compensation

for my service in this case at an hourly rate of $375.00, in addition to seeking reimbursement for

any actual and necessary expenses I incur.

         I hereby accept my appointment as subchapter V trustee in this case pursuant to FRBP

2008.



Dated:          October 6, 2021                       /s/ Edward M. Burr____________________
                                                      Edward M. Burr




                                                  1
